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EXHIBIT 1
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United States Patent and Trademark Office Registered Feb. 21, 1984
TRADEMARK
Principal Register
TANGLE
Richard E. Zawitz (United States citizen), d.b.a. For: KINETIC SCULPTURAL WORK OF
Tangle Associates ART CONSISTING OF PLASTIC, in CLASS 20
505 Sth St. (U.S. Cl. 50).
San Francisco, Calif. 94107 First use Aug. 1982; in commerce Aug. 1982.

Ser. No. 401,529, filed Nov. 3, 1982.

JAMES H. JOHNSON, Examining Attorney
siw2d13 Case: 1:19-cv-03160 Document #¥8FIFiteen" O57 POrEo"Page 3 of 3 PagelD #:19

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